
Per Curiam.
While this appeal was pending, the Florida Supreme Court clarified the current state of the law with regards to consecutive sentencing under section 775.087(2)(d), Florida Statutes. The Florida Supreme Court ruled that consecutive sentencing under section 775.087(2)(d) is not available for a crime act that occurred during a single criminal episode involving a single victim or a single injury. Miller v. State , 43 Fla. L. Weekly S426, --- So.3d ----, 2018 WL 4784069 (Fla. Oct 4, 2018). Because the appellant's single episode involved a single victim who incurred a single injury, we are compelled to reverse the consecutive mandatory minimum sentence for count II and require the trial court to impose this sentence concurrently to the sentence for count I.
REVERSED and REMANDED for resentencing.
B.L. Thomas, C.J., and Roberts and Osterhaus, JJ., concur.
